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 2   COURTNEY FEIN, #244785
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 5
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     REBECCA LYNN STONEKING
 7
 8                            UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,       )      No. CR. S-10-435 FCD
                                     )
11                  Plaintiff,       )      STIPULATION AND ORDER TO CONTINUE
                                     )      STATUS CONFERENCE
12        v.                         )
                                     )      Date: JANUARY 18, 2011
13   REBECCA LYNN STONEKING, et al. )       Time: 10:00 a.m.
                                     )      Judge: Hon. Frank C. Damrell, Jr.
14                  Defendant.       )
     _______________________________ )
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16         THE PARTIES STIPULATE, through counsel, Jared Dolan, Assistant
17   United States Attorney, Courtney Fein, Assistant Federal Defender,
18   attorney for REBECCA LYNN STONEKING, and Erin Radekin, attorney for
19   RUSSELL WILLIAMS, that the Court should vacate the status conference
20   scheduled for December 13, 2010, at 10:00 a.m., and reset it for
21   January 18, 2011, at 10:00 a.m.
22         Counsel for the defendants require further time to review
23   discovery, discuss the contents of the discovery with their clients,
24   and in addition expert consultation may be required for defendant
25   Stoneking.
26         The parties further stipulate that the Court should exclude the
27
28   STIPULATION AND ORDER                   1
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 1   period from the date of this order through January 18, 2011, when it
 2   computes the time within which the trial of the above criminal
 3   prosecution must commence for purposes of the Speedy Trial Act.         The
 4   parties stipulate that the ends of justice served by granting the
 5   defendants’ request for a continuance outweigh the best interest of the
 6   public and the defendants in a speedy trial, and that this is an
 7   appropriate exclusion of time for defense preparation within the
 8   meaning of 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) (Local Code T4).
 9   Dated: December 6, 2010                 Respectfully submitted,
10                                           DANIEL BRODERICK
                                             Federal Defender
11
                                             /s/ C. Fein
12
                                             COURTNEY FEIN
13                                           Assistant Federal Defender
14   Dated: December 6, 2010                 BENJAMIN B. WAGNER
                                             United States Attorney
15
                                             /s/ C.Fein for
16
                                             JARED DOLAN
17                                           Assistant U.S. Attorney
18                                           /s/ C.Fein for
19                                           ERIN RADEKIN
                                             Attorney for Russell Williams
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28   STIPULATION AND ORDER                   2
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 1                                         ORDER
 2         IT IS SO ORDERED.    The status conference is continued to January
 3   18, 2011 at 10:00 a.m.     The court finds that a continuance is necessary
 4   for the reasons stated above, and further finds that the ends of
 5   justice served by granting a continuance outweigh the best interests of
 6   the public and the defendant in a speedy trial.         Time is therefore
 7   excluded from the date of this order through January 18, 2011, pursuant
 8   to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).
 9
10   DATED: December 6, 2010
11
                                            _______________________________________
12                                          FRANK C. DAMRELL, JR.
                                            UNITED STATES DISTRICT JUDGE
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28   STIPULATION AND ORDER                  3
